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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                             www.flsb.uscourts.gov
                                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                        ■                                     Original Plan
                                                                   Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                   Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: James Richardson                                JOINT DEBTOR:                                       CASE NO.: 21-11205
SS#: xxx-xx- 7795                                         SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                             ■   Included                Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                 Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                            ■   Included                Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $858.00              for months   1    to 5     ;

                   2.   $494.64              for months   6    to 10 ;

                   3.   $153.64              for months 11 to 36 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                 NONE    PRO BONO
        Total Fees:               $6050.00           Total Paid:               $600.00           Balance Due:         $5450.00
        Payable             $780.00          /month (Months 1      to 5 )
        Payable             $310.00          /month (Months 6      to 10 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $4500 Chapter 13 Fee
        $1,550 2 Motions to Value

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:               ■   NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL:                     NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.

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                                                                            Debtor(s): James Richardson                             Case number: 21-11205
                   1. REAL PROPERTY:                   NONE

         1. Creditor: Imperial Point Colonnades                 Value of Collateral:                 $100,000.00                      Payment
                      Condominium Inc
                                                                Amount of Creditor's Lien:            $16,202.19    Total paid in plan:          $0.00
              Address: 2156 N.E. 67TH STREET
                       Fort Lauderdale FL 33308
                                                                Interest Rate:       0.00%                                 $0.00   /month (Months        to    )
         Last 4 Digits of Account No.:               N/A
                                                                Check one below:
         Real Property
                                                                   Escrow is included in the monthly
          ■   Principal Residence                                  mortgage payment listed in this section
              Other Real Property                                  The debtor(s) will pay
         Address of Collateral:                                             taxes              insurance directly
         2271 NE 68th St Bldg 20 Unit 2010 Fort
         Lauderdale, FL 33308
         2. Creditor: PNC Bank                                  Value of Collateral:                 $100,000.00                      Payment
              Address: PO Box 1820                              Amount of Creditor's Lien:            $90,000.00    Total paid in plan:          $0.00
                       Dayton OH 45401

         Last 4 Digits of Account No.:               9171       Interest Rate:       0.00%                                 $0.00   /month (Months        to    )


         Real Property                                          Check one below:
          ■   Principal Residence                                  Escrow is included in the monthly
              Other Real Property                                  mortgage payment listed in this section
                                                                   The debtor(s) will pay
         Address of Collateral:
         2271 NE 68th St Bldg 20 Unit 2010 Fort                             taxes              insurance directly
         Lauderdale, FL 33308

                   2. VEHICLES(S):             ■    NONE
                   3. PERSONAL PROPERTY:                    ■   NONE
            C. LIEN AVOIDANCE                   ■    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■    NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                            Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                            Hyundai Capital Americ          8826                         2021 Hyundai Sonata
                       1.
                            Select Portfolio Svcin          5367                                    2271 NE 68th St Bldg 20 Unit 2010 Fort Lauderdale, FL
                       2.                                                                           33308
                            PNC Bank                        9171                                    2271 NE 68th St Bldg 20 Unit 2010 Fort Lauderdale, FL
                       3.                                                                           33308
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                              ■   NONE
            B. INTERNAL REVENUE SERVICE:                             NONE



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                                                                            Debtor(s): James Richardson                    Case number: 21-11205
              Total Due:                 $3,763.81              Total Payment                $4,020.00
               Payable:               $129.68        /month (Months     6       to 36 )
            C. DOMESTIC SUPPORT OBLIGATION(S):                          ■    NONE
            D. OTHER:             ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay             $10.00        /month (Months      6       to 36 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.           If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                    ■    NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                             NONE
                       ■   Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
                           15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
                           debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
                           allowed unsecured claims. [Broward/Palm Beach cases]
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  The Debtor is paying IRS priority debt through the plan. The total paid to the IRS includes 5% interest.

                    Mortgage Modification Mediation


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


 /s/ James Richardson                           Debtor   March 9, 2021                                              Joint Debtor
  James Richardson                                             Date                                                                       Date



  Emil Fleysher, Esq.                                March 9, 2021
   Attorney with permission to sign on                         Date
            Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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